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          EXHIBIT A
          Case 2:21-cv-05675-PD Document 1-4 Filed 12/31/21 Page 2 of 27




THE WEITZ FIRM, LLC                                                        THIS IS NOT AN ARBITRATION
                                                                                     Filed and Attested by the
By: Eric H. Weitz, Esquire                                                 CASE. JURY  TRIAL
                                                                                    Office ofDEMANDED
                                                                                              Judicial Records
     Max S. Morgan, Esquire                                                                  04 NOV 2021 12:29 pm
I.D. Nos. 65514/316096                                                                             M. RUSSO
1528 Walnut Street, 4th Floor
Philadelphia, PA 19102
267-587-6240
215-689-0875 facsimile
eric.weitz@theweitzfirm.com
max.morgan@theweitzfirm.com

                                                                  Attorneys for Plaintiff and Class Action

 CHANNEL AWEAU, individually, and on                              PHILADELPHIA COUNTY
 behalf of all others similarly situated,                         COURT OF COMMON PLEAS
 2803 June Lane                                                   CIVIL TRIAL DIVISION
 Bossier City, Louisiana 71112-2727
                                                                  CLASS ACTION
                           Plaintiff,
         v.                                                                 TERM, 2021

 COMCAST CORPORATION,                                              NO.
 One Comcast Center
 Philadelphia, Pennsylvania 19103                                  JURY TRIAL DEMANDED

                           Defendant.

                                          NOTICE TO DEFEND

                       NOTICE                                                         AVISO

 You have been sued in court. If you wish to defend            Le han demandado a usted en la corte. Si usted
 against the claims set forth in the following pages,          quiere defenderse de estas demandas expuestas en
 you must take action within twenty (20) days after            las paginas siguientes, usted tiene veinte (20) dias de
 this complaint and notice are served, by entering a           plazo al partir de la fecha de la demanda y la
 written appearance personally or by attorney and              notificacion. Hace falta ascentar una comparencia
 filing in writing with the court your defenses or             escrita o en persona o con un abogado y entregar a la
 objections to the claims set forth against you. You are       corte en forma escrita sus defensas o sus objeciones
 warned that if you fail to do so the case may proceed         a las demandas en contra de su persona. Sea avisado
 without you and a judgment may be entered against             que si usted no se defiende, la corte tomara medidas
 you by the court without further notice for any               y puede continuar la demanda en contra suya sin
 money claimed in the complaint of for any other               previo aviso o notificacion. Ademas, la corte puede
 claim or relief requested by the plaintiff. You may           decider a favor del demandante y requiere que usted
 lose money or property or other rights important to           cumpla con todas las provisiones de esta demanda.
 you.                                                          Usted puede perder dinero o sus propiedades u otros
                                                               derechos importantes para usted.

 You should take this paper to your lawyer at once. If         Lleve esta demanda a un abogado immediatamente. Si
 you do not have a lawyer or cannot afford one, go to or       no tiene abogado o si no tiene el dinero suficiente de

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                                                                                                             Case ID: 211100417
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 telephone the office set forth below to find out where       pagar tal servicio. Vaya en persona o llame por
 you can get legal help.                                      telefono a la oficina cuya direccion se encuentra
                                                              escrita abajo para averiguar donde se puede conseguir
                                                              asistencia legal.

               Philadelphia Bar Association                                Asociacion De Licenciados
                     Lawyer Referral                                              De Filadelfia
                 and Information Service                                    Servicio De Referencia E
               1101 Market St., 11th Floor                                     Informacion Legal
             Philadelphia, Pennsylvania 19107                              1101 Market St., 11th Piso
                      (215) 238-6333                                     Filadelfia, Pennsylvania 19107
                                                                                 (215) 238-6333


                                    CLASS ACTION COMPLAINT

        Plaintiff, Channel Aweau, individually and on behalf of all others similarly situated,

brings this class action under Pa. R.C.P. §§ 1701-1717 against Defendant, Comcast Corporation

(“Defendant” or “Comcast”), and alleges the following:

                                            INTRODUCTION

        1.        Since at least as early as October 24, 2020, Comcast has repeatedly called Ms.

Aweau’s cellular telephone about a Comcast account that does not belong to her.

        2.        Comcast used an artificial or prerecorded voice to make these calls in violation of

the Telephone Consumer Protection Act, 47 U.S.C. § 227,et seq. (“TCPA”).

        3.        Ms. Aweau is not, and has never been, a Comcast customer and did not provide her

express consent (or any consent whatsoever), to receive calls from Comcast regarding an account

that she does not own.

        4.        On numerous occasions, Ms. Aweau informed Comcast that it was calling the

wrong number and asked Comcast to stop calling her.

        5.        Comcast stated that it marked her number as “do-not-call” and promised Ms.

Aweau that the calls would stop.

        6.        Comcast, nevertheless, continues to make calls to Ms. Aweau’s cellular telephone


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without her consent.

        7.       Accordingly, Ms. Aweau brings this TCPA action on behalf of herself and a class

of similarly situated individuals under 47 U.S.C. §§ 227(b).

                                  JURISDICTION AND VENUE

        8.       This Court has jurisdiction over Plaintiff’s federal claims pursuant to 47 U.S.C. §

227(b)(3), which provides that “[a] person . . . may, if otherwise permitted by the laws or rules of

court of a State, bring in an appropriate court of that State . . . an action based on a violation of

this subsection . . . .” 47 U.S.C. § 227(b)(3).

        9.       Comcast is a Pennsylvania corporation who at all times material to this Complaint

has been in good standing and authorized to transact business in the Commonwealth of

Pennsylvania.

        10.      Comcast carries on a continuous and systematic part of its general business within

the Commonwealth of Pennsylvania.

        11.      Venue is appropriate under Pa. R.C.P. 1006 because Comcast is located in this

county, and because the transactions or occurrences out of which this cause of action arose took

place in this county.

                                              PARTIES

        12.      Plaintiff Channel Aweau (“Ms. Aweau”) is, and at all times mentioned herein was,

a citizen and resident of Bossier City, Louisiana.

        13.      Ms. Aweau is, and at all times mentioned herein was, a “person” as defined by 47

U.S.C. § 153(39).

        14.      Defendant Comcast Corporation is, and at all times mentioned herein was, a

Pennsylvania corporation with headquarters at One Comcast Center, Philadelphia, Pennsylvania


                                                   3

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19103-2838.

        15.      Defendant is, and at all times mentioned herein was, a “person” as defined by 47

U.S.C. § 153 (39).

                                      FACTUAL ALLEGATIONS

        16.      Ms. Aweau’s telephone number, (xxx) xxx-1111, is assigned to a cellular telephone

service.

        17.      This number has been assigned to Ms. Aweau since December, 2016.

        18.      Since at least as early as October 24, 2020, Comcast has repeatedly called Ms.

Aweau’s cellular telephone number and played a prerecorded message relating to a Comcast

account that utilized an artificial or prerecorded voice.

        19.      Ms. Aweau knew that the call used an artificial or prerecorded voice due to the tone

and cadence of the voice and because Ms. Aweau is familiar with traditional human discourse and

was unable to interact with the caller.

        20.      Comcast is a publicly traded company with a market capitalization exceeding $261

billion dollars. With millions of customers, the scale of Comcast’s business requires the use of an

automated system that allows the delivery of messages without the involvement of human agents.

        21.      These calls are made from the number 1-888-934-6489. 1

        22.      Ms. Aweau does not have a Comcast account.

        23.      Ms. Aweau has never been a Comcast customer.

        24.      Ms. Aweau did not consent to receive calls from Comcast and never consented to

receive calls intended for other Comcast customers.

        1
         Other consumers report receiving similar calls from Comcast. See https://lookup.robokiller.com/p/888-
934-6489?__cf_chl_jschl_tk__=pmd_oq5KYETXhjEVg0An.VYo.8OMPfB0KIIdq8eTUPfazWM-1633552613-0-
gqNtZGzNAlCjcnBszQv9 (last accessed October 6, 2021).


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        25.       During numerous calls, Ms. Aweau followed the prompts to be connected to a live

agent and informed the agent that Comcast was calling the wrong number and requested that the

calls stop.

        26.       Despite her informing Comcast of the erroneous nature of its calls and requesting

that the calls stop, Comcast continued to place prerecorded calls to Ms. Aweau.

        27.       On October 24, 2020 and June 24, 2021, Ms. Aweau spoke with a Comcast

representative.

        28.       On both occasions, the Comcast representative advised that Ms. Aweau’s number

was being marked as “do-not-call”, or words to that effect, and that she should not receive any

further calls.

        29.       Despite these assurances, Ms. Aweau continues to receive calls from Comcast.

        30.       Ms. Aweau also called Comcast’s customer service number and requested that the

calls stop.

        31.       Nevertheless, Ms. Aweau continues to receive calls from Comcast.

        32.       The content of Comcast’s messages demonstrates that Comcast’s calls were not

made of an emergency purpose.

        33.       Comcast is aware of the problems with its system resulting in these improper calls.

        34.       Comcast has been sued multiple times for behavior similar to that described in this

complaint. See, e.g., Lacy v. Comcast Corporation, Case No. 19-05007 (W.D. Wash.); Elder v.

Comcast Corporation, Case No. 15-3834 (E.D. Pa.).

        35.       Comcast is aware of the TCPA’s prohibitions against the use of artificial or

prerecorded voices to make calls to cellular phones without the prior express consent of the called

party. Comcast therefore knowingly and willfully caused calls utilizing an artificial or prerecorded


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voice to be made to the cellular telephones of Ms. Aweau and other consumers without their prior

express consent.

        36.     In addition, each call Comcast made to Ms. Aweau’s cellular telephone after she

informed Comcast that it was calling the wrong number was made knowingly and willfully.

        37.     Ms. Aweau has suffered concrete harm because of Defendant’s unwanted and

unsolicited telemarketing calls, including, but not limited to:

                •   Lost time tending to and responding to the unsolicited calls;

                •   Invasion of Privacy; and

                •   Nuisance.

        38.     Accordingly, each of Comcast’s calls to Ms. Aweau using an artificial or

prerecorded voice violated 47 U.S.C. § 227(b).

        39.     For violations of 47 U.S.C. § 227(b), Ms. Aweau is entitled to a minimum of $500

per call.

        40.     Ms. Aweau is entitled to $1500 per call if Comcast’s actions are found to be

knowing or willful.

                                CLASS ACTION ALLEGATIONS

        41.     Plaintiff brings this action on behalf of a class, pursuant to Pa. R.C.P. §§ 1701-

1717.

        42.     Plaintiff seeks to represent the following Class:

                All persons called by or on behalf of Comcast on their cellular
                telephone numbers with an artificial or prerecorded voice
                within four years of the filing of the complaint after informing
                Comcast or its vendor that the call was to a wrong number.

        43.     Plaintiff reserves the right to amend or modify the class definitions consistent with

the record.
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       44.      The Members of the Class for whose benefit this action is brought are so numerous

that joinder of all members is impracticable.

       45.      The exact number and identities of the persons who fit within the Class are

ascertainable in that Comcast and third parties maintain written and/or electronically stored data

showing:

             a. The time period(s) during which Comcast placed its calls;

             b. The telephone numbers to which Comcast placed its calls;

             c. The telephone numbers for which Comcast had prior express consent;

             d. The telephone numbers for which Comcast was informed were incorrect;

             e. The purposes of such calls; and

             f. The names and addresses of Class members.

       46.      The Class is comprised of hundreds, if not thousands, of individuals.

       47.      There are common questions of law and fact affecting the rights of the Members of

the Class, including, inter alia, the following:

             a. Whether Comcast (or someone acting on its behalf) used an artificial or prerecorded

                voice in placing its calls;

             b. Whether Comcast (or someone acting on its behalf) obtains prior express consent;

             c. Whether Comcast ignored consumers’ indications that they were not the consumers

                Comcast intended to call;

             d. Whether Ms. Aweau and the Class were damaged thereby, and the extent of

                damages for such violations; and

             e. Whether Comcast should be enjoined from engaging in such conduct in the future.




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          48.   Ms. Aweau is a member of the Class in that Comcast placed a prerecorded call to

her cellular telephone without her prior express consent and after Ms. Aweau notified Comcast

that it was calling the wrong number.

          49.   Ms. Aweau’s claims are typical of the claims of the Members of the Class in that

they arise from Comcast’s uniform conduct and are based on the same legal theories as these

claims.

          50.   Ms. Aweau and all putative Members of the Class have also necessarily suffered

concrete harm in addition to statutory damages, as all Members of the Class spent time tending to

Defendant’s unwanted calls and suffered a nuisance and an invasion of their privacy.

          51.   Ms. Aweau has no interests antagonistic to, or in conflict with, the Class.

          52.   Ms. Aweau will thoroughly and adequately protect the interests of the Class, having

retained qualified and competent legal counsel to represent her and the Class.

          53.   Comcast has acted and refused to act on grounds generally applicable to the Class,

thereby making injunctive and declaratory relief appropriate for the Class.

          54.   The prosecution of separate actions by individual class members would create a

risk of inconsistent or varying adjudications.

          55.   A class action is superior to other available methods for the fair and efficient

adjudication of the controversy since, inter alia, the damages suffered by each class member make

individual actions uneconomical.

          56.   Common questions will predominate, and there will be no unusual manageability

issues.




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                                      CAUSE OF ACTION
                            Violations of the TCPA, 47 U.S.C. § 227(b)

          57.    Plaintiff and the proposed Class incorporate the foregoing allegations as if fully set

forth herein.

          58.    Comcast used an artificial or prerecorded voice to make non-emergency calls to the

cellular telephones of Plaintiff and Class members, without their prior express consent.

          59.    Comcast has therefore violated 47 U.S.C. § 227(b).

          60.    As a result of Comcast’s unlawful conduct, Plaintiff and the Class Members are

entitled to an award of $500 in statutory damages for each call, pursuant to 47 U.S.C. §

227(b)(3)(B).

          61.    Plaintiff and the Class Members are entitled to an award of treble damages in an

amount up to $1,500 for each call made knowingly and/or willfully, pursuant to 47 U.S.C. §

227(b)(3).

          62.    Plaintiff and Class Members are also entitled to and seek injunctive relief

prohibiting future violations of the TCPA, including an injunction prohibiting Comcast from

calling individuals with an artificial or prerecorded voice after being informed that Comcast or its

vendor is calling the wrong number.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

following relief:

          A.     An order certifying the Classes as defined above, appointing Plaintiff as the

representative of the Class and appointing her counsel as Class Counsel;

          B.     An order declaring that Defendant’s actions, as set out above, violate 47 U.S.C. §

227(b);

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       C.      An award of injunctive and other equitable relief as necessary to protect the

interests of the Class, including, inter alia, an order prohibiting Defendant from engaging in the

wrongful and unlawful acts described herein;

       D.      An award of statutory damages;

       E.      An award of treble damages; and

       F.      Such other and further relief that the Court deems reasonable and just.




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                                       JURY DEMAND

     Plaintiff requests a trial by jury of all claims that can be so tried.




Dated: November 4, 2021                s/ Max S. Morgan____________
                                       Max S. Morgan, Esquire
                                       Eric H. Weitz, Esquire
                                       THE WEITZ FIRM, LLC
                                       1528 Walnut Street, 4th Floor
                                       Philadelphia, PA 19102
                                       Tel: (267) 587-6240
                                       Fax: (215) 689-0875
                                       max.morgan@theweitzfirm.com
                                       eric.weitz@theweitzfirm.com




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                      Case 2:21-cv-05675-PD Document 1-4 Filed 12/31/21 Page 13 of 27




                                                        VERIFICATION

                     I, Channel Aweau, having reviewed the attached Complaint which was prepared by my

            attorney, hereby verifies that the information contained therein may include information

            furnished to my attorney by individuals other than myself, that the language used therein is that

            of my attorney, and that to the extent the information set forth therein is not known to me, I have

            relied upon my attorney in making this Verification. To the extent that this pleading may contain

            averments which are inconsistent in fact, the signer has been unable after reasonable

            investigation to ascertain which of the inconsistent averments are true, but has knowledge or

            information sufficient to form a belief that one of them is true.

                     Subject to the above limitations, the information contained therein is true and correct to

            the best of my knowledge and/or information and belief, subject to the penalties imposed by 18

            Pa.C.S. § 4904 relating to unsworn falsification to authorities.


                                                                   _______________________________
                                                                   Channel Aweau




                                                                                                        Case ID: 211100417
               Case 2:21-cv-05675-PD Document 1-4 Filed 12/31/21 Page 14 of 27




THE WEITZ FIRM, LLC                                                          Filed and Attested by the
By: Eric H. Weitz, Esquire                                                  Office of Judicial Records
        Max S. Morgan, Esquire                                                  03 DEC 2021 01:31 pm
I.D. Nos. 65514/316096                                                               G. IMPERATO
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Philadelphia, PA 19102
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eric.weitz@theweitzfirm.com
max.morgan@theweitzfirm.com
                                                     Attorneys for Plaintiff and Class Action
 CHANNEL AWEAU, individually, and on behalf            PHILADELPHIA COUNTY
 of all others similarly situated,                     COURT OF COMMON PLEAS
 2803 June Lane                                        CIVIL TRIAL DIVISION
 Bossier City, Louisiana 71112-2727
                                                       CLASS ACTION
                        Plaintiff,
          v.                                          NOVEMBER TERM, 2021

 COMCAST CORPORATION,                                  NO. 000417
 One Comcast Center
 Philadelphia, Pennsylvania 19103

                        Defendant.

  STIPULATION TO AMEND COMPLAINT IN ACCORDANCE WITH PENNSYLVANIA RULE OF
                           CIVIL PROCEDURE 1033

         IT IS HEREBY STIPULATED AND AGREED by and between the parties that Plaintiff may file an

Amended Complaint in this action to substitute the name of the Defendant in the above-captioned matter from

“Comcast Corporation” to “Comcast Cable Communications, LLC.”

         It is FURTHER ORDERED AND DECREED that the caption shall be amended to reflect this change.

         THE WEITZ FIRM, LLC                                      AKIN GUMP STRAUSS HAUER
                                                                  FELD LLP
BY:      s/Max S. Morgan                                     BY:  s/Seamus Duffy_____________
         ERIC H. WEITZ, ESQUIRE                              SEAMUS DUFFY, ESQUIRE
         MAX S. MORGAN, ESQUIRE                                   Attorney for Defendant
         Attorneys for Plaintiffs


                                                             BY THE COURT:

                                                             __________________________________
                                                                                              J.


Dated:


                                                                                                Case ID: 211100417
         Case 2:21-cv-05675-PD Document 1-4 Filed 12/31/21 Page 15 of 27




THE WEITZ FIRM, LLC                                                        THIS IS NOT AN ARBITRATION
                                                                                     Filed and Attested by the
By: Eric H. Weitz, Esquire                                                 CASE. JURY  TRIAL
                                                                                    Office ofDEMANDED
                                                                                              Judicial Records
     Max S. Morgan, Esquire                                                                  03 DEC 2021 01:39 pm
I.D. Nos. 65514/316096                                                                            G. IMPERATO
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eric.weitz@theweitzfirm.com
max.morgan@theweitzfirm.com

                                                                  Attorneys for Plaintiff and Class Action

 CHANNEL AWEAU, individually, and on                               PHILADELPHIA COUNTY
 behalf of all others similarly situated,                          COURT OF COMMON PLEAS
 2803 June Lane                                                    CIVIL TRIAL DIVISION
 Bossier City, Louisiana 71112-2727
                                                                   CLASS ACTION
                           Plaintiff,
         v.                                                        NOVEMBER TERM, 2021

 COMCAST CABLE                                                     NO. 000417
 COMMUNICATIONS, LLC,
 One Comcast Center                                                JURY TRIAL DEMANDED
 Philadelphia, Pennsylvania 19103

                           Defendant.

                                          NOTICE TO DEFEND

                       NOTICE                                                         AVISO

 You have been sued in court. If you wish to defend            Le han demandado a usted en la corte. Si usted
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 you must take action within twenty (20) days after            las paginas siguientes, usted tiene veinte (20) dias de
 this complaint and notice are served, by entering a           plazo al partir de la fecha de la demanda y la
 written appearance personally or by attorney and              notificacion. Hace falta ascentar una comparencia
 filing in writing with the court your defenses or             escrita o en persona o con un abogado y entregar a la
 objections to the claims set forth against you. You are       corte en forma escrita sus defensas o sus objeciones
 warned that if you fail to do so the case may proceed         a las demandas en contra de su persona. Sea avisado
 without you and a judgment may be entered against             que si usted no se defiende, la corte tomara medidas
 you by the court without further notice for any               y puede continuar la demanda en contra suya sin
 money claimed in the complaint of for any other               previo aviso o notificacion. Ademas, la corte puede
 claim or relief requested by the plaintiff. You may           decider a favor del demandante y requiere que usted
 lose money or property or other rights important to           cumpla con todas las provisiones de esta demanda.
 you.                                                          Usted puede perder dinero o sus propiedades u otros
                                                               derechos importantes para usted.



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 You should take this paper to your lawyer at once. If         Lleve esta demanda a un abogado immediatamente. Si
 you do not have a lawyer or cannot afford one, go to or       no tiene abogado o si no tiene el dinero suficiente de
 telephone the office set forth below to find out where        pagar tal servicio. Vaya en persona o llame por
 you can get legal help.                                       telefono a la oficina cuya direccion se encuentra
                                                               escrita abajo para averiguar donde se puede conseguir
                                                               asistencia legal.

               Philadelphia Bar Association                                 Asociacion De Licenciados
                     Lawyer Referral                                               De Filadelfia
                 and Information Service                                     Servicio De Referencia E
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             Philadelphia, Pennsylvania 19107                               1101 Market St., 11th Piso
                      (215) 238-6333                                      Filadelfia, Pennsylvania 19107
                                                                                  (215) 238-6333


                            CLASS ACTION – AMENDED COMPLAINT

        Plaintiff, Channel Aweau, individually and on behalf of all others similarly situated,

brings this class action under Pa. R.C.P. §§ 1701-1717 against Defendant, Comcast Cable

Communications, LLC (“Defendant” or “Comcast”), and alleges the following:

                                             INTRODUCTION

        1.        Since at least as early as October 24, 2020, Comcast has repeatedly called Ms.

Aweau’s cellular telephone about a Comcast account that does not belong to her.

        2.        Comcast used an artificial or prerecorded voice to make these calls in violation of

the Telephone Consumer Protection Act, 47 U.S.C. § 227,et seq. (“TCPA”).

        3.        Ms. Aweau is not, and has never been, a Comcast customer and did not provide her

express consent (or any consent whatsoever), to receive calls from Comcast regarding an account

that she does not own.

        4.        On numerous occasions, Ms. Aweau informed Comcast that it was calling the

wrong number and asked Comcast to stop calling her.

        5.        Comcast stated that it marked her number as “do-not-call” and promised Ms.

Aweau that the calls would stop.


                                                           2

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        6.      Comcast, nevertheless, continues to make calls to Ms. Aweau’s cellular telephone

without her consent.

        7.      Accordingly, Ms. Aweau brings this TCPA action on behalf of herself and a class

of similarly situated individuals under 47 U.S.C. §§ 227(b).

                                  JURISDICTION AND VENUE

        8.      This Court has jurisdiction over Plaintiff’s federal claims pursuant to 47 U.S.C. §

227(b)(3), which provides that “[a] person . . . may, if otherwise permitted by the laws or rules of

court of a State, bring in an appropriate court of that State . . . an action based on a violation of

this subsection . . . .” 47 U.S.C. § 227(b)(3).

        9.      Comcast is a Delaware limited liability company who at all times material to this

Complaint has been in good standing and authorized to transact business in the Commonwealth

of Pennsylvania.

        10.     Comcast has registered as a foreign corporation with the Pennsylvania Secretary

of State pursuant to 15 Pa. Cons. Stat. § 411(a).

        11.     Comcast carries on a continuous and systematic part of its general business within

the Commonwealth of Pennsylvania.

        12.     Venue is appropriate under Pa. R.C.P. 1006 because Comcast is located in this

county, and because the transactions or occurrences out of which this cause of action arose took

place in this county.

                                              PARTIES

        13.     Plaintiff Channel Aweau (“Ms. Aweau”) is, and at all times mentioned herein was,

a citizen and resident of Bossier City, Louisiana.

        14.     Ms. Aweau is, and at all times mentioned herein was, a “person” as defined by 47


                                                    3

                                                                                              Case ID: 211100417
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U.S.C. § 153(39).

        15.      Defendant Comcast Cable Communications, LLC is, and at all times mentioned

herein was, a Delaware limited liability company with offices at One Comcast Center,

Philadelphia, Pennsylvania 19103-2838.

        16.      Defendant is, and at all times mentioned herein was, a “person” as defined by 47

U.S.C. § 153 (39).

                                      FACTUAL ALLEGATIONS

        17.      Ms. Aweau’s telephone number, (xxx) xxx-1111, is assigned to a cellular telephone

service.

        18.      This number has been assigned to Ms. Aweau since December, 2016.

        19.      Since at least as early as October 24, 2020, Comcast has repeatedly called Ms.

Aweau’s cellular telephone number and played a prerecorded message relating to a Comcast

account that utilized an artificial or prerecorded voice.

        20.      Ms. Aweau knew that the call used an artificial or prerecorded voice due to the tone

and cadence of the voice and because Ms. Aweau is familiar with traditional human discourse and

was unable to interact with the caller.

        21.      With millions of customers, the scale of Comcast’s business requires the use of an

automated system that allows the delivery of messages without the involvement of human agents.

        22.      These calls are made from the number 1-888-934-6489. 1

        23.      Ms. Aweau does not have a Comcast account.

        24.      Ms. Aweau has never been a Comcast customer.

        1
         Other consumers report receiving similar calls from Comcast. See https://lookup.robokiller.com/p/888-
934-6489?__cf_chl_jschl_tk__=pmd_oq5KYETXhjEVg0An.VYo.8OMPfB0KIIdq8eTUPfazWM-1633552613-0-
gqNtZGzNAlCjcnBszQv9 (last accessed October 6, 2021).


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        25.       Ms. Aweau did not consent to receive calls from Comcast and never consented to

receive calls intended for other Comcast customers.

        26.       During numerous calls, Ms. Aweau followed the prompts to be connected to a live

agent and informed the agent that Comcast was calling the wrong number and requested that the

calls stop.

        27.       Despite her informing Comcast of the erroneous nature of its calls and requesting

that the calls stop, Comcast continued to place prerecorded calls to Ms. Aweau.

        28.       On October 24, 2020 and June 24, 2021, Ms. Aweau spoke with a Comcast

representative.

        29.       On both occasions, the Comcast representative advised that Ms. Aweau’s number

was being marked as “do-not-call”, or words to that effect, and that she should not receive any

further calls.

        30.       Despite these assurances, Ms. Aweau continues to receive calls from Comcast.

        31.       Ms. Aweau also called Comcast’s customer service number and requested that the

calls stop.

        32.       Nevertheless, Ms. Aweau continues to receive calls from Comcast.

        33.       The content of Comcast’s messages demonstrates that Comcast’s calls were not

made of an emergency purpose.

        34.       Comcast is aware of the problems with its system resulting in these improper calls.

        35.       Comcast has been sued multiple times for behavior similar to that described in this

complaint. See, e.g., Lacy v. Comcast Corporation, Case No. 19-05007 (W.D. Wash.); Elder v.

Comcast Corporation, Case No. 15-3834 (E.D. Pa.).

        36.       Comcast is aware of the TCPA’s prohibitions against the use of artificial or


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prerecorded voices to make calls to cellular phones without the prior express consent of the called

party. Comcast therefore knowingly and willfully caused calls utilizing an artificial or prerecorded

voice to be made to the cellular telephones of Ms. Aweau and other consumers without their prior

express consent.

        37.     In addition, each call Comcast made to Ms. Aweau’s cellular telephone after she

informed Comcast that it was calling the wrong number was made knowingly and willfully.

        38.     Ms. Aweau has suffered concrete harm because of Defendant’s unwanted and

unsolicited telemarketing calls, including, but not limited to:

                •   Lost time tending to and responding to the unsolicited calls;

                •   Invasion of Privacy; and

                •   Nuisance.

        39.     Accordingly, each of Comcast’s calls to Ms. Aweau using an artificial or

prerecorded voice violated 47 U.S.C. § 227(b).

        40.     For violations of 47 U.S.C. § 227(b), Ms. Aweau is entitled to a minimum of $500

per call.

        41.     Ms. Aweau is entitled to $1500 per call if Comcast’s actions are found to be

knowing or willful.

                                CLASS ACTION ALLEGATIONS

        42.     Plaintiff brings this action on behalf of a class, pursuant to Pa. R.C.P. §§ 1701-

1717.

        43.     Plaintiff seeks to represent the following Class:

                All persons called by or on behalf of Comcast on their cellular
                telephone numbers with an artificial or prerecorded voice
                within four years of the filing of the complaint after informing
                Comcast or its vendor that the call was to a wrong number.
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       44.       Plaintiff reserves the right to amend or modify the class definitions consistent with

the record.

       45.       The Members of the Class for whose benefit this action is brought are so numerous

that joinder of all members is impracticable.

       46.       The exact number and identities of the persons who fit within the Class are

ascertainable in that Comcast and third parties maintain written and/or electronically stored data

showing:

              a. The time period(s) during which Comcast placed its calls;

              b. The telephone numbers to which Comcast placed its calls;

              c. The telephone numbers for which Comcast had prior express consent;

              d. The telephone numbers for which Comcast was informed were incorrect;

              e. The purposes of such calls; and

              f. The names and addresses of Class members.

       47.       The Class is comprised of hundreds, if not thousands, of individuals.

       48.       There are common questions of law and fact affecting the rights of the Members of

the Class, including, inter alia, the following:

              a. Whether Comcast (or someone acting on its behalf) used an artificial or prerecorded

                 voice in placing its calls;

              b. Whether Comcast (or someone acting on its behalf) obtains prior express consent;

              c. Whether Comcast ignored consumers’ indications that they were not the consumers

                 Comcast intended to call;

              d. Whether Ms. Aweau and the Class were damaged thereby, and the extent of

                 damages for such violations; and

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                e. Whether Comcast should be enjoined from engaging in such conduct in the future.

          49.      Ms. Aweau is a member of the Class in that Comcast placed a prerecorded call to

her cellular telephone without her prior express consent and after Ms. Aweau notified Comcast

that it was calling the wrong number.

          50.      Ms. Aweau’s claims are typical of the claims of the Members of the Class in that

they arise from Comcast’s uniform conduct and are based on the same legal theories as these

claims.

          51.      Ms. Aweau and all putative Members of the Class have also necessarily suffered

concrete harm in addition to statutory damages, as all Members of the Class spent time tending to

Defendant’s unwanted calls and suffered a nuisance and an invasion of their privacy.

          52.      Ms. Aweau has no interests antagonistic to, or in conflict with, the Class.

          53.      Ms. Aweau will thoroughly and adequately protect the interests of the Class, having

retained qualified and competent legal counsel to represent her and the Class.

          54.      Comcast has acted and refused to act on grounds generally applicable to the Class,

thereby making injunctive and declaratory relief appropriate for the Class.

          55.      The prosecution of separate actions by individual class members would create a

risk of inconsistent or varying adjudications.

          56.      A class action is superior to other available methods for the fair and efficient

adjudication of the controversy since, inter alia, the damages suffered by each class member make

individual actions uneconomical.

          57.      Common questions will predominate, and there will be no unusual manageability

issues.




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                                     CAUSE OF ACTION
                           Violations of the TCPA, 47 U.S.C. § 227(b)

       58.      Plaintiff and the proposed Class incorporate the foregoing allegations as if fully set

forth herein.

       59.      Comcast used an artificial or prerecorded voice to make non-emergency calls to the

cellular telephones of Plaintiff and Class members, without their prior express consent.

       60.      Comcast has therefore violated 47 U.S.C. § 227(b).

       61.      As a result of Comcast’s unlawful conduct, Plaintiff and the Class Members are

entitled to an award of $500 in statutory damages for each call, pursuant to 47 U.S.C. §

227(b)(3)(B).

       62.      Plaintiff and the Class Members are entitled to an award of treble damages in an

amount up to $1,500 for each call made knowingly and/or willfully, pursuant to 47 U.S.C. §

227(b)(3).

       63.      Plaintiff and Class Members are also entitled to and seek injunctive relief

prohibiting future violations of the TCPA, including an injunction prohibiting Comcast from

calling individuals with an artificial or prerecorded voice after being informed that Comcast or its

vendor is calling the wrong number.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

following relief:

       A.       An order certifying the Classes as defined above, appointing Plaintiff as the

representative of the Class and appointing her counsel as Class Counsel;

       B.       An order declaring that Defendant’s actions, as set out above, violate 47 U.S.C. §

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227(b);

          C.   An award of injunctive and other equitable relief as necessary to protect the

interests of the Class, including, inter alia, an order prohibiting Defendant from engaging in the

wrongful and unlawful acts described herein;

          D.   An award of statutory damages;

          E.   An award of treble damages; and

          F.   Such other and further relief that the Court deems reasonable and just.




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                                       JURY DEMAND

     Plaintiff requests a trial by jury of all claims that can be so tried.

Dated: December 3, 2021                s/ Max S. Morgan____________
                                       Max S. Morgan, Esquire
                                       Eric H. Weitz, Esquire
                                       THE WEITZ FIRM, LLC
                                       1528 Walnut Street, 4th Floor
                                       Philadelphia, PA 19102
                                       Tel: (267) 587-6240
                                       Fax: (215) 689-0875
                                       max.morgan@theweitzfirm.com
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                                                        VERIFICATION

                     I, Channel Aweau, having reviewed the attached Amended Complaint which was

            prepared by my attorney, hereby verifies that the information contained therein may include

            information furnished to my attorney by individuals other than myself, that the language used

            therein is that of my attorney, and that to the extent the information set forth therein is not known

            to me, I have relied upon my attorney in making this Verification. To the extent that this

            pleading may contain averments which are inconsistent in fact, the signer has been unable after

            reasonable investigation to ascertain which of the inconsistent averments are true, but has

            knowledge or information sufficient to form a belief that one of them is true.

                     Subject to the above limitations, the information contained therein is true and correct to

            the best of my knowledge and/or information and belief, subject to the penalties imposed by 18

            Pa.C.S. § 4904 relating to unsworn falsification to authorities.


                                                                   _______________________________
                                                                   Channel Aweau




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AKIN GUMP STRAUSS HAUER                                             Filed and Attested by the
 & FELD LLP                                                        Office of Judicial Records
By: Seamus C. Duffy (ID # 52501)                                       07 DEC 2021 08:41 am
1735 Market Street                                                           M. RUSSO
12th Floor
Philadelphia, PA 19103
215-965-1212
sduffy@akingump.com

Attorney for Defendant
Comcast Cable Communications, LLC


CHANNEL AWEAU, individually, and on               :      COURT OF COMMON PLEAS
behalf of all others similarly situated,          :      PHILADELPHIA COUNTY
                                                  :
                      Plaintiff,                  :
                                                  :      NOVEMBER TERM, 2021
              v.                                  :
                                                  :      NO. 000417
COMCAST CABLE COMMUNICATIONS,                     :
LLC,                                              :
                                                  :
                      Defendant.                  :      CLASS ACTION


                                   ACCEPTANCE OF SERVICE

TO THE PROTHONOTARY:

       I, Seamus C. Duffy, being the attorney for Defendant, Comcast Cable Communications,

LLC, hereby accept service of Plaintiff Channel Aweau’s Amended Complaint against Comcast

Cable Communication, LLC under Rule 402(b) in the above-captioned matter and certify that I

am authorized to do so.

Dated: December 3, 2021                           /s/ Seamus C. Duffy
                                                  Seamus C. Duffy (ID # 52501)




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